      Case: 1:16-cv-10413 Document #: 1 Filed: 11/07/16 Page 1 of 4 PageID #:1




                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

BAILEY RINEHART,                                      )
                                                      )       Case No. 16 C 10413
               Plaintiff,                             )
                                                      )       Jury Trial Demanded
vs.                                                   )
                                                      )
CHICAGO PUBLIC SCHOOLS OF THE                         )
BOARD OF EDUCATION OF THE CITY OF                     )
CHICAGO,                                              )
                                                      )
               Defendant.                             )

                                          COMPLAINT

       Plaintiff, BAILEY RINEHART (ABAILEY), through his attorney, complains against

Defendant, CHICAGO PUBLIC SCHOOLS OF THE BOARD OF EDUCATION OF THE CITY

OF CHICAGO (ABOARD@) as follows:

                                    I.   NATURE OF ACTION

       1.      This is an action brought against Defendant BOARD pursuant to Title VI of the

Civil Rights Act of 1964 and 42 U.S.C. ' 2000d, to recover actual damages caused by Defendant=s

racial discrimination against the Plaintiff, for an award of punitive damages, injunctive relief, and

for such other relief as this Court deems proper, including, but not limited to, an award of

attorney’s fees under 42 U.S.C. ' 1988. Plaintiff demands trial by jury.

                              II.    JURISDICTION AND VENUE

       2.      This Court has jurisdiction pursuant to 28 U.S.C. ' 1331 and ' 1343.

       3.      Venue is appropriate under 28 U.S.C. ' 1391, because the Defendant conducts

business in and the discrimination about which Plaintiff complains occurred in the Northern


                                                 1
       Case: 1:16-cv-10413 Document #: 1 Filed: 11/07/16 Page 2 of 4 PageID #:2




District of Illinois.

        4.       The Plaintiff, BAILEY, whose race is White is a resident of the State of Illinois.

        5.       At all times relevant to this cause of action, defendant BOARD principally engaged

in the business of educating children in the City of Chicago, in the Northern District of Illinois,

through the provision of educational services and facilities. The BOARD is the recipient of federal

financial assistance from the Department of Education.

        III.    DISCRIMINATION IN VIOLATION OF TITLE VI, 42 U.S.C. ' 2000d
                                   BASIS RACE

        6.       Plaintiff incorporates && 1-5 herein.

        7.       From approximately 2013 through the end of November 2014, BAILEY was a high

school student at Morgan Park High School, a BOARD school. The administration and student

population at Morgan Park was, during all relevant times, predominantly African-American.

        8.       While attending Morgan Park, BAILEY was the victim of continuous racial

harassment, both verbal and physical, by numerous African American students. During this time,

these students physically assaulted BAILEY, tried to rob him twice, followed him, and made

racially derogatory comments to him such as “cracker,” “honkey,” “white trash,” and “white boy.”

The conduct occurred frequently and in many areas of the school, including the classrooms,

bathrooms, hallways, and after school while on school property. On or about November 6, 2014,

BAILEY was severely attacked and beaten by a fellow student in the school hallway. The

administration failed to promptly provide emergency care and delayed in calling police and/or

BAILEY’s mother.

        9.       Although school administration and/or agents of the BOARD were present for

several of these incidents, they did nothing to punish the perpetrators or stop future harassment.

                                                  2
       Case: 1:16-cv-10413 Document #: 1 Filed: 11/07/16 Page 3 of 4 PageID #:3




Moreover, both BAILEY and his mother complained to school administrators about this treatment.

Neither the administration nor BAILEY’s teachers did anything to stop the bullying. In fact, one

teacher, whose race is African American, routinely treated BAILEY differently than his similarly

situated African American classmates. Unlike the treatment given to BAILEY’s similarly

situated African American classmates, this teacher refused to answer BAILEY’s legitimate

questions in class, permitted other students to call BAILEY “stupid” and to tell BAILEY he should

go to a different class, kicked BAILEY out of class, and ultimately failed him.

       10.     BAILEY’s mother called Morgan Park administrators numerous times about the

situation at the school; the administration did not do anything to remedy the situation and the

offensive behavior continued until BAILEY was forced to leave the school. In fact, when

BAILEY’s mother called the school, it was announced that the “stupid White Bitch is on the

phone.”

       11.     As a result of the discriminatory acts of Defendant, through its agents and

employees, BAILY suffered embarrassment, humiliation, and severe emotional distress, as well as

significant physical pain and suffering. His grades suffered as a result of the harassment.

       12.     The Civil Rights Act of 1964, 42 U.S.C. ' 2000d, prohibits discrimination on the

basis of race in the provision of services under any program that receives Federal financial

assistance.

       13.     Defendant facilitated a racially hostile learning environment for BAILEY that was

severe, pervasive and persistent.

       14.     Moreover, Defendant violated the rights of Plaintiff in failing to respond to the

harassment, of which it was made aware, and take appropriate action to investigate and respond to


                                                 3
      Case: 1:16-cv-10413 Document #: 1 Filed: 11/07/16 Page 4 of 4 PageID #:4




the behavior of the offending students.

       15.     As a result of Defendant=s failure, BAILEY suffered embarrassment,

humiliation, and severe emotional distress, as well as significant physical injury and pain and

suffering. His grades suffered as a result of the harassment. In sum, Plaintiff=s ability to fully

participate in and benefit from the educational services due him was severely limited. In fact,

Bailey was unable to complete his high school education in the Chicago Public School system.

       WHEREFORE, Plaintiff demands the following relief against Defendant:

       (a)     an award of actual damages in an amount to be determined at trial;

       (b)     an award of punitive damages in the amount of $1,000,000.00;

       (c)     an award of attorney’s= fees pursuant to 42 U.S.C. ' 1988; and

       (d)     such other relief as this Court deems appropriate.

                                      Respectfully submitted,
                                      BAILEY RINEHART


                                      /s/ Deidre Baumann
                                      ___________________________
                                      By:     One of Her Attorneys
Baumann & Shuldiner
20 South Clark Street, Suite 500
Chicago, IL 60603

(312) 558-3119




                                                 4
